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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ANTONIO SPIZZIRRI, JR.,

      Plaintiff,                                         Case No. 1:20-cv-03839

 v.
                                                         Honorable Judge Sharon J. Coleman
 PNC BANK, N.A. and SAFEGUARD
 PROPERTIES MANAGEMENT, LLC,
                                                         Magistrate Judge Gabriel A. Fuentes
      Defendants.


 PLAINTIFF’S MOTION TO HOLD GALVEZ REMODELING, INC. IN CONTEMPT
               FOR FAILURE TO RESPOND TO SUBPOENA

        NOW COMES Antonio Spizzirri, Jr. (“Plaintiff”), and pursuant to Fed. R. Civ. P. 45(g),

 moving the Court for an order holding third-party Galvez Remodeling, Inc. (“GRI”) in civil

 contempt for its failure to respond to a subpoena issued pursuant Fed. R. Civ. P. 45, and in

 support thereof, stating as follows:

                                    FACTUAL BACKGROUND

        1.         On June 30, 2020, Plaintiff filed the instant case against PNC Bank, N.A. (“PNC”)

and Safeguard Properties Management, LLC (“Safeguard”) (collectively, “Defendants”) seeking

redress for breach of contract, intentional infliction of emotional distress, intrusion upon seclusion,

trespass to real property, violations of the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”), conversion, and negligence. [Dkt. 1]

        2.         Plaintiff contends that Defendants unlawfully broke into his property, changed the

locks, damaged his property, and absconded with his personal property.

        3.         Defendants contend that their conduct was authorized by the mortgage

encumbering Plaintiff’s property.

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        4.      During the course of the litigation, Safeguard disclosed that it hired GRI to perform

“property preservation services” at Plaintiff’s property and that GRI has knowledge regarding the

facts that give rise to Plaintiff’s claims.

        5.      On April 15, 2021, Plaintiff’s counsel issued a document subpoena to GRI

(“Document Subpoena”) pursuant to Fed. R. Civ. P. 45 requesting the production of documents

that are relevant to Plaintiff’s claims. See attached Exhibit A, a true and correct copy of the

Document Subpoena.

        6.      On April 17, 2021, the Document Subpoena was served on GRI via certified mail

to GRI’s registered agent’s address. See attached Exhibit B, a true and correct copy of USPS

Delivery Confirmation.

        7.      Pursuant to the Document Subpoena, the deadline for GRI to respond to the

Document Subpoena was May 15, 2021.

        8.      On April 19, 2021, Dalila Galvez (“Galvez”), GRI’s registered agent and President,

placed a phone call to Plaintiff’s counsel to discuss the Document Subpoena. During this call,

Galvez assured Plaintiff’s counsel that GRI would fully cooperate with the Document Subpoena

by the deadline.

        9.      Despite the assurance to comply, GRI did not respond to the Document Subpoena

by the May 15, 2022 deadline.

        10.     On August 31, 2021, Plaintiff’s counsel issued a third-party deposition subpoena to

GRI (“Deposition Subpoena”) requiring GRI to appear for a Zoom deposition on September 20,

2021. See attached Exhibit C, a true and correct copy of the Deposition Subpoena.




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       11.     On August 31, 2021, Plaintiff’s counsel placed a phone call to Galvez to (1) discuss

GRI’s failure to comply with the Document Subpoena; and (2) notify GRI of the Deposition

Subpoena.

       12.     During this call, Galvez advised Plaintiff’s counsel that (1) GRI will respond to the

Document Subpoena by September 14, 2021; and (2) GRI will appear for its deposition on

September 20, 2021.

       13.      On September 13, 2021, Plaintiff’s counsel placed a phone call and sent an email

to Galvez regarding the outstanding response to the Document Subpoena. Galvez did not answer

the call or respond to the email.

       14.     On September 15, 2021, Plaintiff’s counsel sent an email to Galvez advising that

GRI’s deposition will not be proceeding on September 20, 2021.

       15.     On September 15, 2021, Galvez called Plaintiff’s counsel and advised Plaintiff’s

counsel that GRI gathered the documents responsive to the Document Subpoena and intended on

producing the same until Safeguard instructed GRI not to respond to the Document

Subpoena. Specifically, Galvez advised Plaintiff’s counsel that Safeguard instructed GRI to not

respond to the Document Subpoena because Safeguard has or will produce the responsive

documents.

       16.     In response, Plaintiff’s counsel warned Galvez that GRI has a legal obligation to

respond to the Document Subpoena and that GRI can be held in contempt of court for failing to

comply with the Document Subpoena. In response to the warning, Galvez advised Plaintiff’s

counsel that GRI will respond to the Document Subpoena “ASAP.”

       17.     On September 15, 2021, Plaintiff’s counsel placed a call to Safeguard’s counsel

and advised Safeguard’s counsel of Galvez’ bombshell representation to Plaintiff’s counsel that



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Safeguard instructed GRI to not respond to the Document Subpoena. In response, Safeguard’s

counsel advised Plaintiff’s counsel that Safeguard’s instruction to Galvez, if true, was

inappropriate and that Safeguard’s counsel will investigate the representation made by Galvez.

       18.     Despite Galvez’ assurance that GRI will respond to the Document Subpoena

“ASAP”, GRI did not respond.

       19.     On December 13, 2021, Plaintiff’s counsel sent an email to Galvez demanding that

GRI respond to the Document Subpoena no later than December 16, 2021.

       20.     On December 16, 2021, Plaintiff’s counsel issued a second third-party deposition

subpoena to GRI (“Second Deposition Subpoena”) requiring GRI to appear for a Zoom deposition

on February 22, 2021. See attached Exhibit D, a true and correct copy of the Second Deposition

Subpoena.

       21.     Also on December 16, 2021, Plaintiff’s counsel sent a letter via email to Galvez

(“Letter”) demanding that GRI respond to the Document Subpoena no later than December 31,

2021. See attached Exhibit E, a true and correct copy of the Letter.

       22.     On December 16, 2021, in response to the Letter, Galvez called Plaintiff’s counsel

and advised Plaintiff’s counsel that Safeguard will be producing the documents requested in the

Document Subpoena. In response, Plaintiff’s counsel again warned Galvez that it has an

independent legal obligation to respond to the Document Subpoena and that GRI could be held in

contempt of court for failing to respond to the Document Subpoena. In response, Galvez assured

Plaintiff’s counsel that GRI will promptly respond to Document Subpoena. Plaintiff’s counsel

further advised Galvez that Plaintiff will be issuing another deposition subpoena to GRI for

February 22, 2022. In response, Galvez advised Plaintiff’s counsel that GRI will appear for its

deposition on February 22, 2022.



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        23.    On January 3, 2022, Galvez sent an email to Plaintiff’s counsel claiming that all

material responsive to the Deposition Subpoena has been either destroyed or deleted. See Exhibit

F, a true and correct copy of Galvez’ email.

        24.    Remarkably, Galvez’ representation in the email that the responsive documents

were destroyed or deleted was inconsistent with her prior representation that GRI had gathered the

responsive documents and was prepared to comply with the Document Subpoena. See Paragraph

15.

        25.    Despite being served with the Document Subpoena and repeated assurances that it

would comply with the Document Subpoena, GRI has failed to comply with the Document

Subpoena.

                                          ARGUMENT

        I.     The Court Should Hold GRI in Contempt for its Failure to Comply with the
               Subpoena

        26.    “A court ‘may hold in contempt a person who, having been served, fails without

adequate excuse to obey [a] subpoena or an order related to it.’” Apollo v. Stasinopoulos, 2020

U.S. Dist. LEXIS 104786, at *2 (N.D. Ill. 2020) citing Fed. R. Civ. P. 45(g).

        27.    To prevail on a request for a contempt finding, a party “must establish by clear and

convincing evidence that: (1) a Court order sets forth an unambiguous command; (2) the alleged

contemnor violated that command; (3) the violation was significant, meaning the alleged

contemnor did not substantially comply with the order; and (4) the alleged contemnor failed to

make a reasonable and diligent effort to comply.” Keen v. Merck Sharp & Dohme Corp., 2019

U.S. Dist. LEXIS 64303, at *8 (N.D. Ill. 2019) citing United States SEC v. Hyatt, 621 F.3d 687,

690 (7th Cir. 2010).




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       28.       If a party does not object to a subpoena, “Rule 45(g) does not require the court to

first order compliance before imposing the sanction of contempt.” Apollo, 2020 U.S. Dist. LEXIS

104786, at *2.

       29.       As set forth above, GRI was adequately served with the Document Subpoena and

has brazenly failed to comply with the same despite repeated assurances that it would comply.

       30.       Accordingly, this Court should hold GRI in contempt for its willful failure to

comply with the Document Subpoena.

       31.       Plaintiff has been significantly prejudiced by GRI’s willful non-compliance as the

documents sought in the Document Subpoena are central to Plaintiff’s claims against Defendants.

       32.       The Subpoena, inter alia, seeks communications between Safeguard and GRI,

which will reveal critical facts surrounding the “property preservation services” and resulting

property damage that give rise to Plaintiff’s claims.

       33.       The information sought is highly material to Plaintiff’s claims against Defendants

and has resulted in significant prejudice to Plaintiff.

       34.       Plaintiff is further prejudiced by GRI’s non-compliance as Plaintiff cannot

effectively take Defendants’ depositions without the critical information that is sought in the

Document Subpoena.

       35.       Accordingly, GRI’s non-compliance has delayed depositions and may impact

Plaintiff’s ability to complete discovery by the May 30, 2022 deadline.

       36.       Based on the foregoing, there is good cause for the Court to hold GRI in contempt

 for its willful non-compliance with the Subpoena.




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        WHEREFORE, Plaintiff respectfully requests the following relief:

         a)   An order holding GRI in contempt for its willful non-compliance with the

              Document Subpoena;

         b)   An order requiring a Safeguard representative to personally appear and respond to

              Galvez’ claim that Safeguard instructed GRI to not respond to the Document

              Subpoena;

         c)   An order sanctioning GRI in an amount to be determined by the Court for its

              willful non-compliance with the Document Subpoena;

         d)   An order compelling GRI to respond to the Document Subpoena within seven (7)

              days;

         e)   In the alternative, to the extent the responsive material has been destroyed or

              deleted as represented by Galvez, an order requiring Galvez and/or GRI to provide

              live testimony, under oath, regarding the alleged destruction/deletion of the

              responsive material;

         f)   An order awarding Plaintiff his attorney’s fees and costs for having to compel

              compliance with the Document Subpoena; and

         g)   Any further relief this Court deems just and proper.

Dated: April 20, 2022                                      Respectfully Submitted,

                                                           /s/ Mohammed O. Badwan
                                                           Mohammed O. Badwan, Esq.
                                                           Sulaiman Law Group, Ltd.
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                                                           Lombard, Illinois 60148
                                                           Phone: (630) 575-8180
                                                           mbadwan@sulaimanlaw.com
                                                           Counsel for Plaintiff




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                               CERTIFICATE OF SERVICE
       I, Mohammed O. Badwan, certify that on April 20, 2022, I caused the foregoing Motion to

be served upon counsel of record through operation of the Court’s Case Management/Electronic

Case File (CM/ECF) system and upon Galvez Remodeling, Inc. via certified mail to its registered

agent’s address: 2332 184th Place, Lansing, IL 60438.


                                                          /s/ Mohammed O. Badwan




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